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AO 245C (Rev. 11 / 16) Amended Judgment in a Criminal Case
                        Case
                       Sheet 2 - 1:16-cr-00028-SPW
                                 Imprisonment                 Document 83 Filed 03/09/17 Page  2 of
                                                                                           (NOTE:     7 Changes with Asterisks (*))
                                                                                                  Identify
                                                                                                     Judgment -   Page -~2~- of   7
DEFENDANT: Jose Antonio Gomes-Granda
CASE NUMBER: CR 16-28-BLG-SPW-02

                                                             IMPRISONMENT

        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
total term of :
24 months.




l!1'     The court makes the following recommendations to the Bureau of Prisons:
The Defendant be placed at Seatac FDC to be close to family.




[!j'     The defendant is remanded to the custody of the United States Marshal.

D        The defendant shall surrender to the United States Marshal for this district:
         D     at                                 D    a.m.      D    p.m.      on

         D     as notified by the United States Marshal.

D        The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

         D     before 2 p.m. on

         D     as notified by the United States Marshal.

         D     as notified by the Probation or Pretrial Services Office.



                                                                  RETURN
I have executed this judgment as follows :




         Defendant delivered on                                                        to

at     _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                                  UNITED ST ATES MARSHAL



                                                                           By
                                                                                             DEPUTY UN ITED STATES MARSHAL
AO 245C (Rev. 11 / 16) Amended Judgment in a Criminal Case
                        Case
                       Sheet 3 - 1:16-cr-00028-SPW
                                 Supervised Release          Document 83 Filed 03/09/17 Page 3 of
                                                                                          (NOTE:    7 fy Changes with Asterisks(*))
                                                                                                 Identi
                                                                                                                     3_
                                                                                                     Judgment-Page _ _        of       7
DEFENDANT: Jose Antonio Gomes-Granda
CASE NUMBER: CR 16-28-BLG-SPW-02
                                                      SUPERVISED RELEASE
                                                                                      3 years, inactive while Defendant is not in U .S.
Upon release from imprisonment, you will be on supervised release for a term of :

                                                  MANDATORY CONDITIONS
1. You must not commit another federal, state or local crime.
2. You must not unlawfully possess a controlled substance.
3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
   imprisonment and at least two periodic drug tests thereafter, as determined by the court.
        D The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
             substance abuse. (check if applicable)
4. [!f" You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
5. D You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901 , et seq.) as
        directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
        reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
6. D You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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                       Sheet 3A - 1:16-cr-00028-SPW
                                   Supervised Release        Document 83 Filed 03/09/17 Page 4 of 7
                                                                                                        Judgment- Page           of
DEFENDANT: Jose Antonio Gomes-Granda
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                                     STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
      time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
      the court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
      to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. lfyou know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours .
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
      was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
      tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                                      Date
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                                  Supervised Release        Document 83 Filed 03/09/17 Page  5 of
                                                                                         (NOTE:     7 Changes with Asterisks (*))
                                                                                                Identify
                                                                                                               5_
                                                                                               Judgment-Page _ _    of      7
DEFENDANT: Jose Antonio Gomes-Granda
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                                      SPECIAL CONDITIONS OF SUPERVISION
  1. The defendant shall submit their person, residence, place of employment, vehicles , and papers , to a search , with or
  without a warrant by any probation officer based on reasonable suspicion of contraband or evidence in violation of a
  condition of release. Failure to submit to search may be grounds for revocation . The defendant shall warn any other
  occupants that the premises may be subject to searches pursuant to this condition. The defendant shall allow seizure of
  suspected contraband for further examination .

  2. The defendant shall participate in and complete a program of substance abuse treatment as approved by the United
  States Probation Office, until the defendant is released from the program by the probation officer. The defendant is to pay
  part or all of the cost of this treatment, as directed by the United States Probation Office.

  3. The defendant shall participate in substance abuse testing, to include not more than 365 urinalysis tests, not more than
  365 breathalyzer tests, and not more than 36 sweat patch applications annually during the period of supervision . The
  defendant shall pay all or part of the costs of testing as directed by the United States Probation Office .

  4. The defendant shall not ingest or inhale any toxic substances such as, but not limited to, synthetic marijuana and/or
  synthetic stimulants that are not manufactured for human consumption, for the purpose of altering their mental or physical
  state.

  5. The defendant shall not purchase, possess, use, distribute or administer marijuana, or obtain or possess a medical
  marijuana card or prescription.
AO 245C (Rev. 11/16) Amended Judgment in a Criminal Case
                      Case
                     Sheet     1:16-cr-00028-SPW
                           5 - Criminal Monetary Penalties                                                   Document 83 Filed 03/09/17 Page  6 of
                                                                                                                                          (NOTE:     7 Changes with Asteri sks(*))
                                                                                                                                                 Identify
                                                                                                                                                  Judgment -   Page       6        of _ _~--
DEFENDANT: Jose Antonio Gomes-Granda
CASE NUMBER: CR 16-28-BLG-SPW-02
                                                                                              CRIMINAL MONETARY PENALTIES
           The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                                                  Assessment                                       JVT A Assessment*       Fine                             Restitution
TOTALS                                       $ 100.00                                          $                       $                                $


D The determination of restitution is deferred until - - -- . An Amended Judgment in a Criminal Case (AO 245C) will be
            entered after such determination.

D The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

          If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
          the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
          before the United States is paid.

Name of Payee                                                                                                                                                         Priority or Percentage
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TOTALS                                                                                                                     $                     0.00


D            Restitution amount ordered pursuant to plea agreement $

D           The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
            fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
            to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

D           The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

            D the interest requirement is waived for                                                   D fme        D restitution.
             D the interest requirement for the                                                D fine        D restitution is modified as follows :


*Justice for Victims of Trafficking Act of2015 , Pub. L. No. 114-22.
**Findings for the total amount oflosses are required under Chapters 109A, 110, l lOA, and l 13A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
AO 245C (Rev . 11 / 16) Amended Judgment in a Criminal Case
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                        Sheet     1:16-cr-00028-SPW
                              6 - Schedule of Payments        Document 83 Filed 03/09/17 Page
                                                                                           (NOT7E:of 7 Changes with Asterisks(*))
                                                                                                  Identify
                                                                                                          Judgment -   Page    7     of        7
DEFENDANT: Jose Antonio Gomes-Granda
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                                                    SCHEDULE OF PAYMENTS

Having assessed the defendant' s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A     [!'.]" Lump sum payment of$ _ 1_0 0_ ._o_o_ _ _ _ due immediately, balance due

           9 not later than _ _ _ _ _ _ _ _ _ _ , or
           l!J   in accordance with   D C,       D D,         D   E, or   [!'.]" F below; or
B    D     Payment to begin immediately (may be combined with             D C,       D D, or D F below); or
C     D Payment in equal                (e.g., weekly, monthly, quarterly) installments of $                         over a period of
         _ _ ___ (e.g., months or years), to commence                  (e.g. , 30 or 60 days) after the date of this judgment; or

D    D   Payment in equal                (e.g. , weekly, monthly, quarterly) installments of $                   over a period of
         _ _ _ __ (e.g., months or years), to commence                   (e.g., 30 or 60 days) after release from imprisonment to a
         term of supervision; or

E    D     Payment during the term of supervised release will commence within               (e.g. , 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    i!J Special instructions regarding the payment of criminal monetary penalties:
            Criminal monetary penalty payments are due during imprisonment at the rate of not less than $25.00 per quarter,
            and payment shall be through the Bureau of Prisons' Inmate Financial Responsibility Program . Criminal monetary
            payments shall be made to the Clerk, United States District Court, James F. Battin U.S. Courthouse, 2601 2nd Ave
            North, Ste 1200, Billings, MT 59101 .


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal! (3) restitution interest1 (4) fine principal, (5) fine
interest, (6) community restitution, (7) NTA assessment, (8) penalties, and (9) costs, me udmg cost of prosecution and court costs.
